Case 3:11-cr-02287-MMA    Document 292   Filed 04/09/14   PageID.700   Page 1 of 1



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  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                 )   Case No. 11cr2287-MMA
                                                )
 11               Plaintiff,                    )   ORDER OF DISMISSAL OF
                                                )   INDICTMENT
 12         v.                                  )
                                                )
 13   GIOVANNI CASTILLO (3),                    )   [Doc. No. 291]
                                                )
 14   PAUL JONNATON LOPEZ-                      )
          MACHADO (7),                          )
 15                                             )
                  Defendants.                   )
 16                                             )
 17        Upon application of the United States Attorney, good cause appearing, the
 18 Indictment in the above-captioned case against Defendants GIOVANNI CASTILLO
 19 (3) and PAUL JONNATON LOPEZ-MACHADO (7) is hereby DISMISSED
 20 without prejudice.
 21        IT IS FURTHER ORDERED that the bench warrants for GIOVANNI
 22 CASTILLO (3) and PAUL JONNATON LOPEZ-MACHADO (7) be recalled.
 23        IT IS SO ORDERED.
 24 DATED: April 9, 2014
 25
                                         HON. MICHAEL M. ANELLO
 26                                      United States District Judge
 27
 28
